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                    EXHIBIT B
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                                 UNITED STATES DISTRICT COURT
                                    DISTRICT OF NEW JERSEY


   DANIEL D’AMBLY, et al.,
                   Plaintiffs,
                                                                    Civil Action No. 20-12880
           v.                                                                 ORDER

   CHRISTIAN EXOO a/k/a ANTIFASH
   GORDON, et al.,
                   Defendants.


  John Michael Vazquez, U.S.D.J.

          For the reasons set forth in the accompanying Opinion, and for good cause shown,

          IT IS on this 1st day of November, 2021,

          ORDERED that the motions to dismiss from (1) St. Lawrence University, D.E. 75, (2)

  Vijaya Gadde and Twitter, Inc., D.E. 78, and (3) Christian Exoo, D.E. 79, are GRANTED; and it

  is further

          ORDERED that Counts II through VI and XIII through XII of the Amended Complaint

  are DISMISSED for failure to state a claim; and it is further

          ORDERED that except for Plaintiff Daniel D’Ambly, Plaintiffs’ claims are DISMISSED

  as to Christian Exoo for lack of personal jurisdiction; and it is further

          ORDERED that Plaintiffs are provided leave to file an amended pleading that remedies

  the identified deficiencies. Plaintiffs’ amended pleading must be filed within thirty (30) days of

  the date of this Order. If Plaintiffs fail to file an appropriate amended pleading within this time,

  the dismissed claims and parties will be DISMISSED with prejudice.

                                                                 __________________________
                                                                 John Michael Vazquez, U.S.D.J.
